                         Case 2:17-cv-08382-RSWL-SS Document 1 Filed 11/16/17 Page 1 of 18 Page ID #:1



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                     9
                             Atto11].~ys
                                       for Defendants
                   10        CVS HEALTH CORPORATION
                             (erroneously sued as CVS CAREMARK)
                   11        and CVS PHARMACY, INC.
                   12

                   13                               UNITED STATES DISTRICT COURT
                   14                              CENTRAL DISTRICT OF CALIFORNIA
                   15

                   16        SHEILA A. BLOWERS,                      Case No. 2:17-cv-08382
                   17                       Plaintiff,               NOTICE OF DEFENDANTS'
                                                                     REMOVAL OF CIVIL ACTION
                   18               v.                               FROM STATE COURT PURSUANT
                                                                     TO 28 U.S.C. §§ 1331, 1332, 1441 AND
                   19        CVS CAREMARK; CVS                       1446 AND 29 U:S.C. § 185
                             PHARMACY, INC.· and DOES 1
                   20        THROUGH 100, INCLUSIVE,                 (DIVERSITY AND FEDERAL
                                                                     QUESTION)
                   21                       Defendants.
                                                                      Complaint Filed: September 2~ 2017
                   22                                                 [Los Angeles County Superior court]

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                  Case 2:17-cv-08382-RSWL-SS Document 1 Filed 11/16/17 Page 2 of 18 Page ID #:2


                   1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                   2   THE CENTRAL DISTRICT OF CALIFORNIA, PLAINTIFF SHEILA A.
                   3   BLOWERS, AND HER A'fl'ORNEYS OJF RECORD:
                   4         PLEASE TAKE NOTICE that Defendants CVS Health Corporation
                   5   (erroneously sued as CVS Caremark) and CVS Pharmacy, Inc. (collectively,
                   6   "Defendants" or "CVS") hereby remove the above-entitled action brought by Plaintiff
                   7   Sheila A. Blowers ("Plaintiff') in the Superior Court of the State of California,
                   8   County of Los Angeles, to the United States District Court for the Central District of
                   9   California, pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446; and 29 U.S.C. §
                 10    185, etseq.
                 11    I.    STATEMENT OF Juru:SDICT:U:ON.
                 12          1.      This Court has original jurisdiction under 28 U.S.C. section 1332(a)(l)
                 13    and this case may be removed pursuant to the provisions of 28 U.S.C. section 1441(a)
                 14    & (b), in that it is a civil action wherein the amount in controversy for the named
                 15    Plaintiff exceeds the sum of seventy-five thousand dollars ($75,000.00), exclusive of
                 16    interest and costs, and it is between "citizens of different States."
                 17          2.      This Court also has original jurisdiction under 28 U.S.C. section 1331
                 18    and this case may be removed pursuant to the provisions of 28 U.S.C. section 1441(a)
                 19    & (c), based upon the existence of a federal question because at all relevant times, the
                 20    terms and conditions of Plaintiff's employment were governed by a Collective
                 21    Bargaining Agreement ("CBA") between CVS Pharmacy, Inc. La Habra, California
                 22    Distribution Center, and General Truck Drivers, Office, Food & Warehouse, Union
                 23    Local No. 952, within the meaning of section 301(a) of the Labor Management
                 24    Relations Act ("LMRA"), 29 U.S.C. § 185 et seq.
                 25    II.   VENUE.
                 26          3.      This employment action was filed in the Superior Court of California for
                 27    the County of Los Angeles. Accordingly, venue properly lies in the United States
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                   Case 2:17-cv-08382-RSWL-SS Document 1 Filed 11/16/17 Page 3 of 18 Page ID #:3


                   1      District Court for the Central District of California pursuant to 28 U.S.C. §§ 84(c)(2),
                   2      1391, 1441, and 1446.
                   3      IIJI.   STATUS OF lP'LEADJINGS, lP'JROCESS AND OJRDERS.
                   4              4.    On September 25, 2017, an employment action was commenced in Los
                   5      Angeles County Superior Court, entitled Sheila A. Blowers v. CVS Caremark, CVS
                    6     Pharmacy, Inc., and DOES 1 through 100, inclusive, designated as Case No.
                    7     BC677042 (the "State Court Action").
                    8             5.    On October 17, 2017, Plaintiff served Defendant CVS Pharmacy, Inc.'s
                    9     registered agent with the following documents:                the Complaint for Damages,
                   10     Summons, Civil Case Cover Sheet, Civil Case Cover Sheet Addendum and Statement
                   11     of Location, Notice of Case Assignment, Voluntary Efficient Litigation Stipulations,
                   12     and Alternative Dispute Resolution (ADR) Information Packet. Attached as Exhibit
                   13     A to the Declaration of DavidS. Maoz is a true and correct copy of all case initiating
                   14     documents served on CVS Pharmacy, Inc., including the Complaint. (See Declaration
                   15     of David S. Maoz ("Maoz Decl."),            'if 2, Exhibit A.) Since then, Plaintiff also
                   16     purportedly served Defendant CVS Caremark. (Id.)
                   17             6.    In the Complaint, Plaintiff alleges mne causes of action against
                   18     Defendants CVS Caremark and CVS Pharmacy, Inc. 1 for (1) Disability Discrimination
                   19     on the Basis of Medical Condition/Physical Disability; (2) Failure to Provide
                   20     Reasonable Accommodation; (3) Failure to Engage in the Interactive Process; (4)
                   21     Failure to Prevent Harassment, Retaliation or Discrimination; (5) Wrongful
                   22     Termination and Disparate Treatment Based on Age; (6) Wrongful Termination in
                   23     Violation of Public Policy; (7) Breach of Covenant of Good Faith and Fair Dealing;
                   24     (8) Intentional Infliction of Emotional Distress; and (9) Negligent Infliction of
                   25     Emotional Distress. (Maoz Decl., 'if 2, Exhibit A, at Complaint ("Compl.").)
                   26
                          1
                            Plaintiff has improperly identified CVS Caremark as a defendant in this case. CVS Pharmacy, Inc.
                   27
                          was Plaintiffs employer during all relevant periods and is accordingly the only proper defendant in
                   28     this case. (Declaration ofMe1anie K. Luker ("Luker Decl."), ~ 3.)
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                     1          7.     On November 16, 2017, Defendants filed their Answer ("Answer") to the
                     2   Complaint in the State Court Action.            (Maoz, Decl. 9f 3.) Attached to the Maoz
                     3   Declaration as Exhibit B is a t1ue and correct copy of Defendants' Answer.
                     4          8.     In accordance with 28 U.S.C. § 1446(a), true and correct copies of all
                     5   other process, pleadings and orders filed in the State Court Action are attached to the
                     6   Maoz Declaration as Exhibit C. (Maoz Decl., 'If 4.)
                     7          9.     The documents attached as Exhibits A, B, and C to the Maoz Declaration
                     8   constitute all the process, pleadings or orders related to this case that were served
                     9   upon Defendants or filed or received in the State Court Action. 2 (Maoz Decl., 1f 5.)
                   10    The attachments thereby satisfy the requirements of28 U.S.C. § 1446(a).
                   11           10.    As of the date of this Notice of Removal, no other parties have been
                   12    named or served with the Summons and Complaint in this action. (Maoz Decl., ~ 6.)
                   13    ][V.   T][MEL][NESS OJF REMOVAL.
                   14           11.    This Notice of Removal is timely filed, pursuant to 28 U.S.C. § 1446(b)
                   15    because it is filed within 30 days of service of Plaintiffs Summons and Complaint on
                   16    Defendants. No previous Notice of Removal has been filed or made with this Court
                   17    for the relief sought.
                   18    v.     D][VJElR.S][TY JURISDICT][ON.
                   19           12.     Section 1332(a) provides, in relevant part, as follows:
                   20
                                       The district courts shall have original jurisdiction of all civil
                   21                  actions where the matter in controversy exceeds the sum or
                                       value of $75,000, exclusive of interest and costs, and is
                   22
                                       between-
                   23
                                        (1)    citizens of different States[.]
                   24

                   25

                   26    2
                           If the Court determines any additional documents should have been included as "process, pleadings
                         and orders" that have not already been attached, this does not deprive the Court of jurisdiction, and
                   27
                         Defendants will promptly supplement this Notice to remedy any such deficiency. See W. Chance #2,
                   28    Inc., v. KFC Corp., 957 F.2d 1538, 1540 (9th Cir. 1992).
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2049 Cenlury Park East
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                    1            13.   This action is a civil action over which this Court has original jurisdiction
                    2      based on diversity of citizenship pursuant to Section 1332(a), and is one which may be
                    3      removed to this Court by Defendants pursuant to 28 U.S.C. section 144l(b) because it
                    4      is a civil action between citizens of different States and the amount in controversy
                    5      exceeds $75,000, exclusive of interest and costs, as set forth below.
                    6            A.     There is Complete Diversity of Citizenship :n:n This Case.
                    7                   1.    Plaintiff is a California Citizen.
                    8            14.    For diversity purposes, a person is a "citizen" of the State in which he or
                    9      she is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir.
                  10       1983). A person's domicile is the place he or she resides with the intention to remain,
                  11       or to which he or she intends to return. Kanter v. Warner-Lambert Co., 265 F.3d 853,
                  12       857 (9th Cir. 2001).
                  13             15.    Plaintiff alleges that at all relevant times mentioned in the Complaint, she
                  14       "is and was an individual residing in the County of Los Angeles, State of California,"
                  15       and therefore, Plaintiff is a citizen of the State of California. (Compl.,   ~    1.) See Lew
                  16       v. Moss, 797 F.2d 747, 751 (9th Cir. 1986) (residency can create a rebuttable
                  17       presumption of domicile supporting diversity of citizenship).
                  18                    2.    Defendant CVS Pharmacy, Inc. :n:s Not a Citizen of California.
                  19             16.    In determining diversity jurisdiction, a corporation "shall be deemed a
                  20       citizen of any State by which it has been incorporated and of the State where it has its
                  21       principal place of business." 28 U.S.C. § 1332(c)(l). The United States Supreme
                  22       Court has confirmed that to determine a corporation's principal place of business, a
                  23       court must apply the "nerve center" test. See Hertz v. Friend, 559 U.S. 77, 93 (2010).
                  24       In relevant part, the Court explained, as follows:
                  25                    We conclude that 'principal place of business' is best read as
                                        referring to the place wliere a corporation's officers direct,
                  26                    control.;> and coordinate the COl]JOration's activities. It is the
                                        place tnat Courts of Appeals Ii.ave called the corporation's
                  27                     nerve center.' And in practice it should normally be the
                                        place where the corporation maintains its headquarters --
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2049 Century Park East
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                   1                   2rovided that the headquarters is the actual center of
                                       Clirection, control, and coordination, i.e., the 'nerve center,'
                   2                   and not simply an office where the cofRoration holds its
                                       board meetings (for example, attended by directors and
                   3                   officers who nave traveled tliere for the occasion).
                   4   Id. at 92-93.
                   5             17.   Plaintiff was employed by CVS Pharmacy, Inc. (Declaration of Melanie
                   6   Luker ("Luker Decl."), 'fl3).
                   7             18.   Defendant CVS Pharmacy, Inc. is presently, and was at the time of the
                   g   commencement of this suit, a citizen of the State of Rhode Island as provided in 28
                   9   U.S.C. § 1332(c) because it was and is a corporation duly organized and validly
                 1 o existing under and pursuant to the laws of the State of Rhode Island. (Luker Decl., ~
                 11    4.)
                 12              19.   Moreover, Defendant CVS Pharmacy, Inc.'s principal place of business
                 13    is in Rhode Island. (Id. 'IT 5.) The majority of Defendant CVS Pharmacy, Inc.'s
                 14    corporate officers and senior executives who direct, control and coordinate its
                 15    operations are located at its corporate headquarters in Woonsocket, Rhode Island.
                 16    (Id.) As a result, nearly all of CVS Pharmacy, Inc.'s corporate decisions are made in
                 17    Rhode Island, including operational, executive, administrative and policymaking
                 18    decisions. (Id.) See Breitman v. May Co. California, 37 F.3d 562, 564 (9th Cir. 1994)
                 19    (corporation is citizen of state in which its corporate headquarters are located and
                 20    where its executive and administrative functions are performed).                   Therefore,
                 21    Defendant CVS Pharmacy, Inc. is a citizen of the State of Rhode Island, where it is
                 22    incorporated and has its principal place of business under the "nerve center" test.
                 23                    3.     Defendant CVS Health Corporation (erroneously sued as CVS
                                              Caremark) Is Not a Citizen of California.
                 24
                                 20.   Defendant CVS Health Corporation is the parent entity of CVS
                 25
                       Pharmacy, Inc. (Luker Decl., 'fl7; Declaration of Susan Zamarelli ("Zamarelli Decl.")
                 26
                       at    ~   1.)   CVS Health Corporation is presently, and was at the time of the
                 27
                       commencement of this suit, a citizen of the State of Delaware as provided in 28
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                  1    U.S.C. § 1332(c) because it was and is a corporation duly organized and validly
                  2    existing under and pursuant to the laws of the State of Delaware. (Luker Decl., 9l8.)
                  3             21.    Moreover, CVS Health Corporation's principal place of business is in
                  4    Rhode Island.         (Luker Decl.,     ~   9.)   The majority of CVS Health Corporation's
                  5    corporate officers and senior executives whom direct, control and coordinate its
                  6    operations are located in its corporate headquarters in Woonsocket, Rhode Island.
                  7    (!d.) As a result, nearly all of CVS Health Corporation's corporate decisions of are
                  8    made in Rhode Island, including operational, executive, administrative and
                  9    policymaking decisions. (Id.); see also Breitman, 37 F.3d at 564. Therefore, CVS
                10     Health Corporation is a citizen of the state of Delaware, where it is incorporated, and
                11     Rhode Island, where has its principal place of business under the "nerve center" test.
                12                     4.      CVS Caremarkis No Longer an Operating Entity.
                13              22.    CVS Caremark was the predecessor of CVS Health Corporation. (Luker
                14     Decl.,   ~   6.) In 2014, CVS Caremark's name changed to CVS Health Corporation.
                15     (!d.; Zamarelli Decl.,        ~   1)   Since CVS Caremark is not technically an operating
                16     entity-at least not under that name, it is not a properly named defendant; however, as
                17     a predecessor of CVS Health Corporation, if it is considered a defendant for purposes
                18     of this removal, the citizenship of CVS Health Corporation is either Delaware or
                19     Rhode Island.        See~~   20-21, supra.
                20                     5.      The Citizenship of the Doe Defendants Should Be Disregarded
                                               for Diversity Purposes.
                21
                                23.    For purposes of removal, the citizenship of defendants sued under
                22
                       fictitious names should be disregarded, and citizenship of only named defendants
                23
                       should be considered. 28 U.S.C. § 1441(b)(l).
                24
                                24.    Defendants Does 1 through 100 are fictitious. The Complaint does not
                25
                       state the identity or status of these fictitious defendants, nor does it state any specific
                26
                       allegation of wrongdoing against any fictitious defendants. Pursuant to § 1441 (b)( 1),
                27
                       the citizenship of these fictitious defendants cannot destroy the diversity of citizenship
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                    1   between the parties and should be disregarded. Newcombe v. Adolf Coors Co., 157
                    2   F.3d 686, 690 (9th Cir. 1998).
                    3         25.    No other party has been named or served as of the date of this removal.
                    4   (Maoz Decl., ~ 6.)
                    5         26.    Accordingly, complete diversity of citizenship exists in this case.
                    6         B.     1'he Amount In Controversy Exceeds $75,000.
                    7         27.    Plaintiff's Complaint does not specify the amount that she seeks to
                    8   recover from Defendants in this action.         Where removal is based on diversity of
                    9   citizenship and the initial pleading seeks a money judgment but does not demand a
                  10    specific sum, "the notice of removal may assert the amount in controversy," 28 U.S.C.
                  11    1446(c)(2), and a removing defendant "need include only a plausible allegation that
                  12    the amount in controversy exceeds the jurisdictional threshold." Dart Cherokee Basin
                  13    Operating Co. v. Owens, 135 S. Ct. 547, 554 (2014).
                  14          28.    In measuring the amount in controversy, the Court must assume that the
                  15    allegations of the complaint are true and that a jury will return a verdict in favor of the
                  16    plaintiff on all claims asserted in her complaint. Kenneth Rothschild Trust v. Morgan
                  17    Stanley Dean Witter, 199 F. Supp. 2d 993, 1000-01 (C.D. Cal. 2002). The ultimate
                  18    inquiry is the amount that is put "in controversy" by the plaintiffs Complaint, and not
                  19    how much, if anything, the defendant will actually owe. Rippee v. Boston Mkt. Corp.,
                  20    408 F. Supp. 2d 982, 986 (S.D. Cal. 2005) (citing Scherer v. Equitable Life Assurance
                  21    Soc'y ofthe United States, 347 F.3d 394, 397-99 (2d Cir. 2003) (recognizing that the
                  22    ultimate or provable amount of damages is not what is considered in the removal
                  23    analysis; rather, it is the amount put in controversy by the plaintiffs complaint)). In
                  24    determining the amount in controversy, the Court may consider damages awards in
                  25    similar cases. Kroske v. U.S. Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005).
                  26          29.    Although Defendants deny the validity and merit of all of Plaintiffs
                  27    claims and allegations and deny that Plaintiff is entitled to any relief, Plaintiffs claims
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                      1   establish an amount "in controversy" in excess of the jurisdictional minimum of
                      2   $75,000, exclusive of interest and costs, as set forth below.
                      3                1.     Lost Wages and Benefits.
                      4         30.    Plaintiffs Complaint includes nine separate causes of action arising out
                      5   of her employment.       Among other things, Plaintiff alleges that CVS wrongfully
                      6   terminated her as a result of her disability and her age and in retaliation for her
                      7   complaints about discrimination. (Compl.         ~'If   21, 38, 43.) She also contends that CVS
                      8   failed to prevent harassment, discrimination and retaliation based on her age, physical
                      9   disability and her exercise of union rights. (Compl., 'lf'll34.) She claims lost wages for
                    10    those alleged violations. (Compl., ~'ll22, 27, 31, 35, 39, 44, 51, 55, 59, Prayer, 'If 1.)
                    11          31.    Plaintiffs allegations put in controversy the amount she would have
                    12    earned up through the date of trial, including any benefits or pay increases. See
                    13    Judicial Council of California, Civil Jury Instructions ("CACI") No. 2433 (2012);
                    14    Wise v. S. Pac. Co., 1 Cal. 3d 600, 607 (1970).
                    15           32.   At the time Plaintiff last worked for CVS Pharmacy, Inc., on or about
                    16    February 16, 2016, she was paid at the rate of $22.30 per hour. (Zamarelli Decl., ~ 6.)
                    17    IfPlaintiffwere to recover lost wages from February 16,2016 to the present, her back
                    18    wages would total approximately $81,172 ($22.30/hr x 40 hrs x 91 wks (using the
                    19    removal date of November 16, 2017, the date of the filing of this Removal).
                    20    Moreover, if the case proceeds to trial in October 2018-a year from when CVS was
                    21    served-and Plaintiff remains unemployed, she may seek a total of approximately 139
                    22    weeks of lost wages, or approximately $123,988 ($22.30/hr x 40 hrs x 139 wks).
                    23                 2.     Emotional Distress Damages.
                    24           33.   Plaintiff also alleges that, as a result of CVS's alleged unlawful conduct,
                    25    she has suffered "fear, humiliation, emotional distress, and mental, or emotional or
                    26    physical pain and anguish .... " (Compl.                ~91   22, 27, 31, 35, 39, 44, 51, 55, 59.)
                    27    Plaintiffs potential recovery of emotional distress damages further augments the
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                   1      foregoing amount and demonstrates that the jurisdictional prerequisite for removal of
                   2      this action is met. See Velez v. Roche, 335 F. Supp. 2d 1022, 1038-40 (N.D. Cal.
                   3      2004) (surveying discrimination and harassment cases awarding emotional distress
                   4      damages and concluding that "substantial jury awards of hundreds of thousands of
                   5      dollars for non-economic damages have been upheld where there is evidence ... that
                   6      the plaintiff suffered heightened mental anguish").
                   7            34.    In Kroske v. U.S. Bank Corp., the Ninth Circuit found that the district
                    8     court's conclusion that the plaintiff's "emotional distress damages would add at least
                    9     an additional $25,000 to her claim" was not clearly erroneous, where she had only
                 10       $55,000 in lost wages, thus satisfying the amount in controversy requirement "even
                 11       without including a potential award of attorney's fees." Kroske, 432 F.3d at 980.
                 12       Based on the conservative estimate from Kroske, Plaintiff's potential recovery of
                 13       emotional distress damages could add at least $25,000 to the amount in controversy.
                 14                    3.     Statutory Attorney's lFees.
                 15             35.    Plaintiffs Complaint also seeks attorney's fees. (Compl. 'lf'lf 23, 28, 32,
                 16       36, 40, 45, 52, Prayer, 'lf 8.) Attorney's fees that are potentially recoverable by statute
                 17       also are included in determining the amount in controversy.             Galt GIS v. JSS
                 18       Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998).
                 19             36.    The bulk of Plaintiff's Complaint alleges violations of the Fair
                 20       Employment and Housing Act, which authorizes an award of reasonable attorney's
                 21       fees to a prevailing plaintiff.     Cal. Govn't Code §12965(b).         While Plaintiff's
                 22       attorney's fees cannot be precisely calculated, it is reasonable to assume that they
                 23       could exceed a damages award. Simmons v. PCR Tech., 209 F. Supp. 2d 1029, 1035
                 24       (N.D. Cal. 2002) (noting that "attorneys' fees in individual discrimination cases often
                 25       exceed the damages").
                 26             37.    Any estimate of attorney's fees includes fees over the life of the case, not
                 27       just the fees incurred at the time of removal. !d. "Recent estimates for the number of
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                 1     hours expended through trial for employment cases in [the Central District of
                 2     California] have ranged from 100 to 300 hours.           Therefore, 100 hours is an
                 3     appropriate and conservative estimate.         Accordingly, attorneys' fees in [an
                 4     employment discrimination case alleging wrongful termination] may reasonably be
                 5     expected to equal at least $30,000 (100 hours x $300 per hour)." Sasso v. Noble Utah
                 6     Long Beach, L.L.C., No. CV 14-09154-AB (AJWx), 2015 WL 898468, at *6 (C.D.
                 7     Cal. Mar. 3, 2015) (citations omitted). Thus, Plaintiffs demand for attorney's fees
                 8     adds at least $30,000 to the amount in controversy.
                 9                  4.    Punitive Damages
                10           38.    Plaintiff also seeks punitive damages in her Complaint. (Compl., 919123,
                11     28, 32, 36, 40, 45, 52, 56, 60, Prayer, 'IT 7.) Such damages would also raise the amount
                12     in controversy. California law does not provide any specific monetary limit on the
                13     amount of punitive damages which may be awarded under Civil Code section 3294,
                14     and the proper amount of punitive damages under California law is based on the
                15     reprehensibility of the defendant's misdeeds, the ratio between compensatory and
                16     punitive damages, and the ratio between damages and the defendant's net worth. See
                17     Boyle v. Lorimar Prods., Inc., 13 F.3d 1357, 1360 (9th Cir. 1994).
                18           39.    Moreover, punitive damages are included in calculating the amount in
                19     controversy. Davenport v. Mut. Benefit Health & Accident Ass 'n, 325 F.2d 785, 787
                20     (9th Cir. 1963); Aucina v. Amoco Oil Co., 871 F. Supp. 332, 334 (S.D. Iowa 1994). In
               21      Aucina, the defendant-employer established that the amount in controversy exceeded
                22     the jurisdictional minimum where the former employee asserted claims for lost wages,
                23     lost benefits, mental anguish, and punitive damages. The court noted that "[b]ecause
                24     the purpose of punitive damages is to capture a defendant's attention and deter others
                25     from similar conduct," the "plaintiffs claim for punitive damages alone might
                26     exceed" the jurisdictional minimum. Aucina, 871 F. Supp. 332 at 334; see also
                27     Faulkner v. Astro-Med, Inc., No. C 99-2562 Sl, 1999 WL 820198, at *4 (N.D. Cal.
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                      1   Oct. 4, 1999) (finding that punitive damages should be considered when determining
                  2       the amount in controversy (citing Richmond v. Allstate Ins. Co., 897 F. Supp. 447, 450
                  3       (S.D. Cal 1995)).
                  4             40.       Although CVS disputes that Plaintiff is entitled to recover any damages
                      5   whatsoever, including punitive damages, the above decisions illustrate that a punitive
                      6   damages award potentially could alone exceed $1 million. And, most conservatively,
                      7   an amount awarded in punitive damages in this matter could be at least $50,000.
                      8   Aucina, 871 F. Supp. at 334; see also Roby v. Mcf(esson Corp., 47 Cal. 4th 686, 719
                      9   (2009) (finding a 1:1 ratio of punitive damages to compensatory damages was
                 10       appropriate).
                 11             41.       Consequently, a preponderance of the evidence demonstrates that the
                 12       amount in controversy exceeds $75,000, exclusive of interest and costs. For all these
                 13       reasons, this case is properly removed to this Court based on diversity jurisdiction.
                 14       VI.   JFEDERAL QUESTION JURISDICTION.
                 15             42.       28 U.S.C. Section 1331 provides as follows:
                 16
                                          The district courts shall have original jurisdiction of all civil
                 17                       actions arising under the Constitution, laws, or treaties of the
                                          United States.
                 18
                                43.       This action is a civil action over which this Court has original jurisdiction
                 19
                          based on federal question pursuant to Section 1331, and is one which may be removed
                 20
                          to this Court by Defendants pursuant to 28 U.S.C. section 1441(c) because at all
                 21
                          relevant times, the terms and conditions of Plaintiffs employment were governed by a
                22
                          CBA within the meaning of section 301(a) of the LMRA, 29 U.S.C. § 185 et seq.
                23
                                A.        The Terms and Conditions of Plaintiff's Employment Were At All
                 24                       Times Governed by a Collective Bargaining Agreement.
                25              44.       At all relevant times, Plaintiff was employed by CVS Pharmacy, Inc. as
                26        either a Loader or an Order Selector at CVS 's La Habra, California Distribution
                27        Center. (Zamarelli Decl., 1f1f 3-4.)
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                    1           45.    At all relevant times, the terms and conditions of Plaintiffs employment
                   2      were governed by a CBA between CVS Pharmacy, Inc. La Habra, California
                   3      Distribution Center, and General Truck Drivers, Office, Food & Warehouse, Union
                   4      Local No. 952, within the meaning of section 30l(a) ofthe LMRA, 29 U.S.C. § 185 et
                    5     seq. (Zamarelli Decl., ~ 7, Ex. A.)
                    6           46.    As discussed below, the CBA includes provisions that apply to most, if
                    7     not all, of the conduct that Plaintiff alleges to support her causes of action. In order to
                    8     resolve Plaintiff's claims, a court will need to interpret those CBA provisions.
                    9           4 7.   Accordingly, this Court has original jurisdiction over this action under
                 10       28 U.S.C. § 1331 based upon the existence of a federal question, and this action may
                 11       be removed pursuant to 28 U.S.C. § 144l(a) because it arises under section 30l(a) of
                 12       the LMRA, 29 U.S.C. § 185(a).
                  13            48.    Section 301 of the LMRA provides federal jurisdiction over suits
                  14      implicating labor organizations without respect to the amount in controversy or
                  15      without regard to the citizenship of the parties. 29 U.S.C. § 185 et seq. Section 301
                  16      preempts "claims founded directly on rights created by collective-bargaining
                  17      agreements, and also claims substantially dependent on analysis of a collective-
                  18      bargaining agreement."      Caterpillar Inc. v. Williams, 482 U.S. 386, 394 (1987)
                  19      (internal quotations and citations omitted).
                 20             49.    The United States Supreme Court has made clear that, where the
                 21       resolution of state law claims would require the interpretation or application of a
                 22       collective bargaining agreement, those claims are preempted by section 301. See
                 23       Lingle v. Norge Div. of Magic Chef, Inc., 486 U.S. 399, 405-06 (1988) ("[I]f the
                 24       resolution of a state-law claim depends upon the meaning of a collective-bargaining
                 25       agreement, the application of state law . . . is pre-empted and federal labor-law
                 26       principles- necessarily uniform throughout the Nation- must be employed to resolve
                 27       the dispute."); accord Allis-Chalmers Corp. v. Lueck, 471 U.S. 202, 220 (1985)
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                   1      ("when resolution of a state-law claim is substantially dependent upon analysis of the
                   2      terms of an agreement made between the parties in a labor contract, that claim must
                   3      either be treated as a § 301 claim, or dismissed as preempted by federal labor-contract
                   4      law") (internal citation omitted).
                   5            50.    As the Ninth Circuit has noted, "[t]he preemptive force of section 301 is
                   6      so powerful as to displace entirely any state claim based on a collective bargaining
                    7     agreement, and any state claim whose outcome depends on analysis of the terms of the
                    8     agreement." Young v. Anthony's Fish Grottos, Inc., 830 F.2d 993, 997 (9th Cir. 1987)
                    9     (internal citations omitted). Moreover, "[a]lthough the language of§ 301 is limited to
                 10       ' [s]uits for violation of contracts,' it has been construed quite broadly to cover most
                 11       state-law actions that require interpretation of labor agreements." Associated Builders
                  12      & Contractors, Inc. v. Local 302 IBEW, No. 95-16202, 1997 WL 236296, at *1 (9th
                  13      Cir. May 12, 1997) (internal citation omitted).
                  14             51.   Thus, state law causes of action whose outcome depends on analysis of
                  15      the terms of a collective bargaining agreement are preempted by section 301 of the
                  16      LMRA, and federal courts therefore have original jurisdiction over such actions.
                  17      Young, 830 F.2d at 999 (holding that, if evaluation of a tort claim is "inextricably
                  18      intertwined with consideration of the terms of the labor contract," it is preempted and
                  19      may be removed to federal court). Such a policy "authoriz[es] the development of
                 20       federal common-law rules of decision, in large part to assure that agreements to
                 21       arbitrate grievances would be enforced, regardless of the vagaries of state law and
                 22       lingering hostility toward extrajudicial dispute resolution." Associated Builders, 1997
                 23       WL 236296, at *1 (internal quotations and citations omitted).
                 24              lB.   Plaintiff's Failure to Reference the CJBA or Section 301 of the LMRA
                                       in .Her Complaint Does Not Preclude Removal.
                 25
                                 52.   As the Ninth Circuit has recognized, "[m]any § 301 suits do not assert
                  26
                          breach of the collective bargaining agreement and are nevertheless held preempted
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                          because they implicate provisions of the agreement." Associated Builders, 1997 WL
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                  1    236296, at   *1   (emphasis added).     That is, parties may not avoid section 301
                  2    preemption by artfully pleading a complaint by failing to disclose that the plaintiffs
                  3    employment was governed by a collective bargaining agreement. Young, 830 F.3d at
                  4    997. In such cases, it is proper for the court to look beyond the face of the complaint
                  5    to determine whether the state-law claim is preempted, i.e., to determine whether the
                  6    outcome of the state claim depends on analysis of the terms of the collective
                  7    bargaining agreement. !d. (finding that district court appropriately looked beyond
                  8    face of complaint in finding section 301 preemption where complaint did not reveal
                  9    that plaintiff's employment was governed by a collective bargaining agreement); see
                 10    also Milne Employees Ass 'n v. Sun Carriers, Inc., 960 F.2d 1401, 1406 (9th Cir.
                 11    1991) ("Plaintiffs cannot avoid removal by 'artfully pleading' only state law claims
                 12    that are actually preempted by federal statutes such as section 301 of the Labor
                 13    Management Relations Act." (citing Young)). Here, Plaintiffs failure to reference
                 14    either the operative CBA or section 301 of the LMRA does not prevent removal;
                 15    accordingly, removal is entirely proper.
                 16          c.     Plaintifrs Claims Are Preempted by the LMRA Because Resolution
                                    of Her Claims Is Dependent Upon and Inextricably Intertwined with
                 17                 Her CBA.
                 18          53.    Here, Plaintiff alleges that Defendants discriminated against her
                 19    wrongfully terminated her as a result of her disability and her age and in retaliation for
                20     her complaints about discrimination. (Compl. 1f'1121, 38, 43.) She also contends that
                21     Defendants failed to prevent harassment, discrimination and retaliation based on her
                22     age, physical disability and her exercise of union rights. (Compl., ~'1134.)
                23           54.    State-law discrimination and retaliation claims are preempted by the
                24     LMRA when resolution of those claims requires a court to interpret the express and
                25     implied terms of a collective bargaining agreement. See, e.g., Bachilla v. Pac. Bell
                 26    Tel. Co., No. Civ. S-07-739 RRB KJM, 2007 WL 2825924, at *4 (E.D. Cal. Sept. 25,
                 27    2007); see also Van Scoy v. New Albertson's, Inc., No. 2:08-cv-02237-MCE-KJM,
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                    1      2010 WL 5168787, at *2 (E.D. Cal. Dec. 13, 2010) (finding FEHA discrimination
                    2      claims preempted because resolution of claims required court to interpret CBA);
                    3      1\tfadison v. Motion Picture Set Painters & Sign Writers Local 729, 132 F. Supp. 2d
                    4      1244, 1253-55 (C.D. Cal. 2000) (same). Where interpretation of a CBA is required,
                    5      state common-law claims likewise are preempted. See, e.g., Stallcop v. Kaiser Found.
                    6      Hasps., 820 F.2d 1044, 1049 (9th Cir. 1987) (LMRA preempted claims for negligent
                    7      and intentional infliction of emotional distress and would also preempt a claim for
                    8      "the California tort of wrongful discharge").
                    9            55.    In Bachilla, the plaintiffs alleged sex discrimination based on the
                  1o       promotion of less senior male coworkers in violation of company policy to promote
                  11       based on seniority.    Bachilla, 2007 WL 2825924, at *5. The court found that
                  12       resolution of the discrimination claims was substantially dependent on an analysis of
                  13       the CBA because the terms of plaintiffs' employment, including their eligibility for
                  14       promotions, were governed by the CBA. Id. at *7. The court further noted that the
                  15       employer would undoubtedly assert that it complied with the procedures set forth in
                  16       the CBA, so resolution of the state discrimination claims would tum on defendant's
                  17       offer of legitimate non-discriminatory reasons, which would in tum require
                  18       interpretation of the CBA.     Id. at *7-8.     Plaintiffs' claim thus was "inextricably
                  19       intertwined" with consideration of the terms of the CBA because the court would be
                  20       required to interpret the seniority and transfer provisions of the CBA. The court
                  21       therefore found that the discrimination claims were preempted by the LMRA, and
                  22       removal was proper. Id. at *8.
                  23             56.    Here, Plaintiffs claims are preempted because they are substantially
                  24       dependent upon the Court's review, interpretation and analysis of the applicable CBA.
                  25       More specifically, Plaintiff alleges in all of her Causes of Action that Defendants
                  26       engaged in a number of actions with respect to the terms and conditions of her
                  27       employment that she characterizes as unlawful and/or adverse. For example, Plaintiff
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                     1   alleges that Defendants unlawfully discriminated and harassed her, and retaliated
                     2   against her due to her alleged disability and age.       (Compl.,   ~~   20-40.). Notably,
                     3   Plaintiff also alleges that Defendants wrongfully terminated her employment and calls
                     4   into question whether her termination related to her work performance. (Compl., '!f<ll
                     5   41-52.)     All of those allegations relate to specific provisions of the CBA.          In
                     6   particular, Article 18 outlines permissible reasons for termination of an employee.
                     7   (Zamarelli Decl., 1f 7, Ex. A at 29.) Additionally, Article 20, Section 20.1 outlines
                     8   prohibited discrimination under the CBA, including discrimination based on disability
                     9   and/or age. (Id. at Ex. A at 30.) Therefore, in order to assess whether CVS's conduct
                   1o    was lawful, the Court will need to interpret the applicable CBA provisions.
                   11          57.     As illustrated above, Plaintiff's employment was governed by the express
                   12    terms and conditions of the CBA, and her claims are inextricably intertwined with the
                   13    CBA and require interpretation of its terms.         As such, they are all necessarily
                   14    preempted by federal law.
                   15          D.      Supplemental Jurisdiction Exists JFor All Related Claims.
                   16          58.     To the extent Plaintiff alleges any claims for relief that do not arise under
                   17    section 301 or that are not completely preempted by section 301, those claims are
                   18    within the supplemental jurisdiction of this Court under 29 U.S.C. § 1367(a) because
                   19    they are so related to the section 301 claims that they form part of the same case or
                   20    controversy under Article III of the U.S. Constitution. See Kuba v. 1-A Agric. Ass 'n,
                   21    387 F.3d 850, 855 (9th Cir. 2004) (noting that supplemental jurisdiction applies to
                   22    state law claims derived from "a common nucleus of operative fact" and "are such that
                   23    a plaintiff would ordinarily be expected to try them in one judicial proceeding")
                   24    (internal quotations and citation omitted). Alternatively, any such other claims for
                   25    relief are separate and independent claims that are properly removable to this Court
                   26    pursuant to 28 U.S.C. § 144l(c).
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                         1            59.       Thus, this action is removable in its entirety, on federal question and/or
                     2       on diversity grounds.
                     3       VU. NO'f:U:CE TO PLAINTIFF AND S'fA'fE COUR'f.
                     4                60.       Contemporaneously with the filing of this Notice of Removal in the
                         5   United States District Court for the Central District of California, written notice of
                         6   such filing will be provided by the undersigned to Plaintiffs counsel of record, and a
                         7   copy of the Notice of Removal will be filed with the Clerk of the Superior Court for
                         8   the County of Los Angeles, State of Califmnia, as required by 28 U.S.C. § 1446(d).
                         9   (Maoz Decl., <jf 7.)
                    10       V:U:U. CONCLUSION.
                    11                61.       WHEREFORE, having fulfilled all statutory requirements, Defendants
                    12       hereby remove this action to this Court from the Superior Court of Los Angeles
                    13       County, California, and request that this Court assume full jurisdiction over this
                    14       matter as provided by law.
                    15       Dated: November 16, 2017
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